Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 1 of 54            FILED
                                                                      2017 Aug-11 AM 10:12
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA




                      Exhibit A
                                                         DOCUMENT 1
                                                                                                            ELECTRONICALLY FILED
                 Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page8/10/2017
                                                                             2 of 54 3:40 PM
                                                                                                               01-CV-2017-903349.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                            COVER SHEET                                                JEFFERSON COUNTY, ALABAMA
Unified Judicial System
                                      CIRCUIT COURT - CIVIL CASE                             01-CV-2017-903349.00
                                                                                                  ANNE-MARIE ADAMS, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev.5/99
                                                                                             08/10/2017

                                                GENERAL INFORMATION
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. MOORE, III, DECEASED

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way
     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court
     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal                                TOCN - Conversion
     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
     TBFM - Fraud/Bad Faith/Misrepresentation                       Injunction Election Contest/Quiet Title/Sale For Division

     TOXX - Other:                                           CVUD - Eviction Appeal/Unlawful Detainer
                                                             FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                       FORF - Fruits of Crime Forfeiture
     TOPE - Personal Property                                MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TORE - Real Properly                                    PFAB - Protection From Abuse
                                                             FELA - Railroad/Seaman (FELA)
OTHER CIVIL FILINGS
                                                             RPRO - Real Property
     ABAN - Abandoned Automobile
                                                             WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ACCT - Account & Nonmortgage
                                                             COMP - Workers’ Compensation
     APAA - Administrative Agency Appeal
                                                             CVXX - Miscellaneous Circuit Civil Case
     ADPA - Administrative Procedure Act
     ANPS - Adults in Need of Protective Service

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                     MONETARY AWARD REQUESTED                     NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        PET036                                  8/10/2017 3:40:03 PM                            /s/ MICHAEL DOUGLAS PETWAY
                                            Date                                              Signature of Attorney/Party filing this form



MEDIATION REQUESTED:                            YES    NO      UNDECIDED
                             DOCUMENT 2
                                                          ELECTRONICALLY FILED
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page8/10/2017
                                                            3 of 54 3:40 PM
                                                            01-CV-2017-903349.00
                                                            CIRCUIT COURT OF
                                                       JEFFERSON COUNTY, ALABAMA
                                                        ANNE-MARIE ADAMS, CLERK
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 4 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 5 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 6 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 7 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 8 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 9 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 10 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 11 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 12 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 13 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 14 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 15 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 16 of 54
                            DOCUMENT 2
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 17 of 54
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 18 of 54


                                      AlaFile E-Notice




                                                                        01-CV-2017-903349.00


To: MICHAEL DOUGLAS PETWAY
    mpetway@fpflaw.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

      CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
                               01-CV-2017-903349.00

                     The following complaint was FILED on 8/10/2017 3:40:25 PM




    Notice Date:    8/10/2017 3:40:25 PM




                                                                         ANNE-MARIE ADAMS
                                                                      CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                              JEFFERSON COUNTY, ALABAMA
                                                           716 N. RICHARD ARRINGTON BLVD.
                                                                      BIRMINGHAM, AL, 35203

                                                                                205-325-5355
                                                                anne-marie.adams@alacourt.gov
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 19 of 54


                                      AlaFile E-Notice




                                                                        01-CV-2017-903349.00


To: JOHN WILSON JORDAN
    6550 COUNTY ROAD 490
    HANCEVILLE, AL, 35077




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

      CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
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                                                                         ANNE-MARIE ADAMS
                                                                      CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                              JEFFERSON COUNTY, ALABAMA
                                                           716 N. RICHARD ARRINGTON BLVD.
                                                                      BIRMINGHAM, AL, 35203

                                                                                205-325-5355
                                                                anne-marie.adams@alacourt.gov
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 20 of 54


                                      AlaFile E-Notice




                                                                        01-CV-2017-903349.00


To: ARAMARK UNIFORM & CAREER APPAREL, LLC C/O CT CORP
    SYSTEM, 2 NO. JACKSON ST
    SUITE 605
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

      CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
                               01-CV-2017-903349.00

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                                                              JEFFERSON COUNTY, ALABAMA
                                                              JEFFERSON COUNTY, ALABAMA
                                                           716 N. RICHARD ARRINGTON BLVD.
                                                                      BIRMINGHAM, AL, 35203

                                                                                205-325-5355
                                                                anne-marie.adams@alacourt.gov
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 21 of 54


                                      AlaFile E-Notice




                                                                        01-CV-2017-903349.00


To: PENSKE TRUCK LEASING CO., LP, C/O
    CORP. SERVICE CO. INC.,
    641 SO. LAWRENCE ST
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

      CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
                               01-CV-2017-903349.00

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                                                                         ANNE-MARIE ADAMS
                                                                      CIRCUIT COURT CLERK
                                                              JEFFERSON COUNTY, ALABAMA
                                                              JEFFERSON COUNTY, ALABAMA
                                                           716 N. RICHARD ARRINGTON BLVD.
                                                                      BIRMINGHAM, AL, 35203

                                                                                205-325-5355
                                                                anne-marie.adams@alacourt.gov
             Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 22 of 54
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     01-CV-2017-903349.00
Form C-34 Rev. 4/2017                                - CIVIL -
                       IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
             CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
  NOTICE TO:       JOHN WILSON JORDAN, 6550 COUNTY ROAD 490, HANCEVILLE, AL 35077

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  MICHAEL DOUGLAS PETWAY                                                                         ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 600 LUCKIE DRIVE, STE. 300, BIRMINGHAM, AL 35223                                                                 .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of
     pursuant to the Alabama Rules of the Civil Procedure.                                  [Name(s)]

          8/10/2017 3:40:25 PM                            /s/ ANNE-MARIE ADAMS          By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
             Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 23 of 54
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     01-CV-2017-903349.00
Form C-34 Rev. 4/2017                                - CIVIL -
                       IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
             CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
  NOTICE TO:       ARAMARK UNIFORM & CAREER APPAREL, LLC C/O CT CORP, SYSTEM, 2 NO. JACKSON ST SUITE 605, MONTGOMERY, AL 36104

                                                              (Name and Address of Defendant)
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  MICHAEL DOUGLAS PETWAY                                                                         ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 600 LUCKIE DRIVE, STE. 300, BIRMINGHAM, AL 35223                                                                 .
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                                                                                        PERSONAL
                                                                                        REPRESENTATIVE OF THE
                                                                                        ESTATE OF ROBERT L.
                                                                                        MOORE, III, DECEASED
     pursuant to the Alabama Rules of the Civil Procedure.                                         [Name(s)]

          8/10/2017 3:40:25 PM                            /s/ ANNE-MARIE ADAMS               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ MICHAEL DOUGLAS PETWAY
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 24 of 54
             Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 25 of 54
State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     01-CV-2017-903349.00
Form C-34 Rev. 4/2017                                - CIVIL -
                       IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
             CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
  NOTICE TO:       PENSKE TRUCK LEASING CO., LP, C/O, CORP. SERVICE CO. INC., 641 SO. LAWRENCE ST, MONTGOMERY, AL 36104

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  MICHAEL DOUGLAS PETWAY                                                                         ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 600 LUCKIE DRIVE, STE. 300, BIRMINGHAM, AL 35223                                                                 .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                                                                                        PERSONAL
                                                                                        REPRESENTATIVE OF THE
                                                                                        ESTATE OF ROBERT L.
                                                                                        MOORE, III, DECEASED
     pursuant to the Alabama Rules of the Civil Procedure.                                         [Name(s)]

          8/10/2017 3:40:25 PM                            /s/ ANNE-MARIE ADAMS               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ MICHAEL DOUGLAS PETWAY
                                                                (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 26 of 54
                                        DOCUMENT 5
                                                                            ELECTRONICALLY FILED
     Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 8/10/2017
                                                                 27 of 546:25 PM
                                                                              01-CV-2017-903349.00
                                                                              CIRCUIT COURT OF
                                                                         JEFFERSON COUNTY, ALABAMA
                                                                          ANNE-MARIE ADAMS, CLERK
               IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

CHANELL TURNER,as Personal
Representative of the Estate of Robert L.
Moore, III, deceased,

        Plaintiff(s),

V.                                                         Case No.: CV-2017-903349

ARAMARK UNIFORM AND CAREER
APPAREL,LLC; PENSKE TRUCK
LEASING CO., L.P.; JOHN WILSON
JORDAN;

        Defendants.

        ARAMARK UNIFORM AND CAREER APPAREL,LLC'S ACCEPTANCE/
                         WAIVER OF SERVICE

        COMES NOW Aramark Uniform and Career Apparel, LLC ("Aramark") and, pursuant

to Ala. R. Civ. P. 4(h), waives service of process in this action, and hereby requests that any

documents, pleadings, or orders be sent to Aramark's counsel of record, Keith Andress, Esq., and

Kevin Garrison, Esq., at Baker, Donelson, Bearman, Caldwell & Berkowitz, PC, located at 420

N. 20th Street, Suite 1400, Birmingham, Alabama 35203.

        APPROVED BY:

        Aramar Uniform md Career Apparel, LLC

        By:
        Its:


        Respectfully submitted


                                            D. KEITH AN R S(AND053)
                                            KEVIN R. GAR ISON (GAR096)

                                            Attorneys for Aramark



4846-5602-0300 v1
2780891-000183 08/10/2017
                                         DOCUMENT 5
    Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 28 of 54



OF COUNSEL:
 BAKER, DONELSON, BEARMAN,
  CALDWELL & BERKOWITZ,P.C.
 1400 Wells Fargo Tower
420 North 20th Street
 Birmingham, AL 35203
(205)328-0480 Telephone
(205)322-8007 Facsimile
 kandress0),bakerdonelson.com
 kttarrisoniii)bakerdonelson.com


                                CERTIFICATE OF SERVICE

        I hereby certify that on August 10, 2017, the foregoing has been filed utilizing the
Court's electronic filing system, which will send electronic notification to the following counsel
of record:

        Michael D. Petway
        G. Courtney French
        FUSION,PETWAY & FRENCH, LLP
        600 Luckie Drive, Suite 300
        Birmingham, AL 35223
        m petway("&fpflaW.corn
        girencWipllaw.com

        Penske Truck Leasing Co., L.P.
        c/o Corporation Service Company, Inc.
        641 South Lawrence Street
        Montgomery, AL 36104

        John Wilson Jordan
        6550 County Road 490
        Hanceville, AL 35077




4846-5602-0300 vl
2789891-000183 08/10/2017
         Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 29 of 54


                                       AlaFile E-Notice




                                                                      01-CV-2017-903349.00


To: KEVIN RAY GARRISON
    krgarrison@bakerdonelson.com




                    NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

       CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
                                01-CV-2017-903349.00

               The following NOTICE OF APPEARANCE was FILED on 8/10/2017 6:25:48 PM




     Notice Date:    8/10/2017 6:25:48 PM




                                                                        ANNE-MARIE ADAMS
                                                                     CIRCUIT COURT CLERK
                                                             JEFFERSON COUNTY, ALABAMA
                                                             JEFFERSON COUNTY, ALABAMA
                                                          716 N. RICHARD ARRINGTON BLVD.
                                                                     BIRMINGHAM, AL, 35203

                                                                              205-325-5355
                                                              anne-marie.adams@alacourt.gov
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 30 of 54


                                      AlaFile E-Notice




                                                                     01-CV-2017-903349.00


To: ARAMARK UNIFORM & CAREER APPAREL, LLC C/O CT CORP (PRO SE)
    SYSTEM, 2 NO. JACKSON ST
    SUITE 605
    MONTGOMERY, AL, 36104-0000




                   NOTICE OF ELECTRONIC FILING
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                                                            JEFFERSON COUNTY, ALABAMA
                                                         716 N. RICHARD ARRINGTON BLVD.
                                                                    BIRMINGHAM, AL, 35203

                                                                             205-325-5355
                                                             anne-marie.adams@alacourt.gov
         Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 31 of 54


                                      AlaFile E-Notice




                                                                     01-CV-2017-903349.00


To: PENSKE TRUCK LEASING CO., LP, C/O (PRO SE)
    CORP. SERVICE CO. INC.,
    641 SO. LAWRENCE ST
    MONTGOMERY, AL, 36104-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

      CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
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                                                            JEFFERSON COUNTY, ALABAMA
                                                         716 N. RICHARD ARRINGTON BLVD.
                                                                    BIRMINGHAM, AL, 35203

                                                                             205-325-5355
                                                             anne-marie.adams@alacourt.gov
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 32 of 54


                                      AlaFile E-Notice




                                                                     01-CV-2017-903349.00


To: JORDAN JOHN WILSON (PRO SE)
    6550 COUNTY ROAD 490
    HANCEVILLE, AL, 35077-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

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                                                            JEFFERSON COUNTY, ALABAMA
                                                            JEFFERSON COUNTY, ALABAMA
                                                         716 N. RICHARD ARRINGTON BLVD.
                                                                    BIRMINGHAM, AL, 35203

                                                                             205-325-5355
                                                             anne-marie.adams@alacourt.gov
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 33 of 54


                                      AlaFile E-Notice




                                                                     01-CV-2017-903349.00


To: PETWAY MICHAEL DOUGLAS
    mpetway@fpflaw.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

      CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
                               01-CV-2017-903349.00

              The following NOTICE OF APPEARANCE was FILED on 8/10/2017 6:25:48 PM




    Notice Date:    8/10/2017 6:25:48 PM




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                                                         716 N. RICHARD ARRINGTON BLVD.
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                                                                             205-325-5355
                                                             anne-marie.adams@alacourt.gov
        Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 34 of 54


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                                                                     01-CV-2017-903349.00


To: FRENCH GEORGE COURTNEY
    cfrench@fpflaw.com




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                                                                                 01-CV-2017-903349.00
                                                                                 CIRCUIT COURT OF
                                                                            JEFFERSON COUNTY, ALABAMA
                                                                             ANNE-MARIE ADAMS, CLERK
           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

CHANELL TURNER, as Personal                          )
Representative of the Estate of Robert L.            )
Moore, III, deceased,                                )
                                                     )
       Plaintiff(s),                                 )
                                                     )
v.                                                   )      Case No.: CV-2017-903349
                                                     )
ARAMARK UNIFORM AND CAREER                           )
APPAREL, LLC; PENSKE TRUCK                           )
LEASING CO., L.P.; JOHN WILSON                       )
JORDAN;                                              )
                                                     )
       Defendants.                                   )

                       NOTICE OF FILING OF NOTICE OF REMOVAL

       Please take note that Defendant Aramark Uniform and Career Apparel, LLC (“Aramark”)

has caused to be filed on the 10th day of August, 2017, in the United States District Court for the

Northern District of Alabama, Southern Division, a Notice of Removal for the above-styled

action to said court. A copy of the Notice of Removal is attached hereto as Exhibit A.


                                                     Respectfully submitted,


                                                     /s/ Kevin R. Garrison
                                                     KEVIN R. GARRISON (GAR096)
                                                     D. KEITH ANDRESS (AND053)
                                                     Attorneys for Aramark

OF COUNSEL:
BAKER, DONELSON, BEARMAN,
 CALDWELL & BERKOWITZ, P.C.
1400 Wells Fargo Tower
420 North 20th Street
Birmingham, Alabama 35203
(205) 328-0480
kgarrison@bakerdonelson.com
kandress@bakerdonelson.com



4837-3366-6636 v1
2789891-000183 08/10/2017
                                        DOCUMENT 7
     Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 36 of 54




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing was served upon the below-
listed counsel by using the AlaFile e-filing system and/or First Class United States Mail,
properly addressed and postage prepaid, this the 10th day of August, 2017:

       Michael D. Petway
       G. Courtney French
       FUSTON, PETWAY & FRENCH, LLP
       600 Luckie Drive, Suite 300
       Birmingham, AL 35223
       mpetway@fpflaw.com
       gfrench@fpflaw.com

       Penske Truck Leasing Co., L.P.
       c/o Corporation Service Company, Inc.
       641 South Lawrence Street
       Montgomery, AL 36104

       John Wilson Jordan
       6550 County Road 490
       Hanceville, AL 35077

                                                   s/ Kevin R. Garrison
                                                   Of Counsel




                                               2


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2789891-000183 08/10/2017
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                      Exhibit A
                                                      DOCUMENT 7
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

CHANELL TURNER, as Personal                                           )
Representative of The Estate of Robert L.                             )
Moore, III, deceased;                                                 )
                                                                      )
           Plaintiff,                                                 )
                                                                      )
v.                                                                    ) Case No. ________________
                                                                      )
ARAMARK UNIFORM AND                                                   )
CAREER APPAREL, LLC;                                                  )
PENSKE TRUCK LEASING CO.,                                             )
L.P.; JOHN WILSON JORDAN,                                             )
                                                                      )
           Defendants.                                                )

                                          NOTICE OF REMOVAL

           Pursuant to 28 U.S.C. §§ 1332, 1441, & 1446, Aramark Uniform and Career

Apparel, LLC (“Aramark” or “Defendant”), which is the sole served defendant1 in

the above-captioned case, hereby removes this action from the Circuit Court of

Jefferson County, Alabama, where it is now pending as Civil Action Number CV-

2017-903349, to the United States District Court for the Northern District of

Alabama, Southern Division. In support of this Notice of Removal, Defendant

asserts and avers as follows:




1
    At the time of this filing, no other defendant has been served.
                                                             1


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                FACTUAL ALLEGATIONS SUPPORTING REMOVAL

         1.         Plaintiff commenced this action as Personal Representative of the

Estate of Robert L. Moore, III, deceased, against Defendant on August 10, 2017,

by the filing of a Complaint and Summons in the Circuit Court of Jefferson

County, true and correct copies of which are collectively attached to this Notice of

Removal as Exhibit A.

         2.         Aramark filed a waiver and acceptance of service in the Circuit Court

of Jefferson County on August 10, 2017.

         3.         Plaintiff is a resident citizen of the State of Alabama, and at the time

of his death, Robert L. Moore, III, was a resident citizen of Alabama. (Compl. at ¶

1.)

         4.         As to Defendant Aramark, Plaintiff alleges that it is “a commercial

carrier business entity involved in interstate transportation doing business in

Jefferson County, Alabama, within the jurisdiction of this Court.” (Compl. at ¶ 2.)

Defendant alleges, for purposes of establishing this Court’s removal jurisdiction,

that Defendant Aramark is a limited liability company, whose sole member is

Aramark Uniform & Career Apparel Group, Inc., a Delaware corporation with its

principal place of business in Pennsylvania. Thus, for diversity purposes,

Defendant Aramark is a citizen of the States of Delaware and Pennsylvania. 28

U.S.C. § 1332(c)(1).
                                                2


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         5.         Plaintiff’s Complaint relates to a catastrophic motor vehicle accident

that occurred on or about July 24, 2017, on Interstate 65 in Jefferson County,

Alabama (the “Accident”) between a motor vehicle occupied by the decedent

Robert L. Moore, III, for whom Plaintiff purports to be the Personal

Representative, and a commercial motor vehicle owned and maintained by

Defendant. (Compl. at ¶ 7.) Two other passengers, including a minor child, died

in the Accident. A copy of a photograph taken of the vehicle by counsel for

Aramark after the Accident is attached as Exhibit B. Three other lawsuits on

behalf of the deceased and the surviving minor child have been filed and also

removed to this Court.2

         6.         Plaintiff alleges here that her decedent was killed as a result of the

Accident. (Compl. at ¶ 11.)

         7.         Plaintiff asserts claims for negligence, wantonness, negligent and/or

wanton hiring, training and supervision, negligent and/or wanton entrustment, and

negligent and/or wanton maintenance, alleging that Defendant negligently,

recklessly, wantonly, and/or wrongfully acted or failed to act, thereby causing the

death of Plaintiff’s decedent. (See generally Compl.)



2
 See Caldwell v. Aramark Uniform and Career Apparel, LLC, Case No. 2:17-cv-01307-TMP,
Brew v. Aramark Corp., Case No. 2:17-cv-1277 and Pickett, et al. v. Aramark Services, Inc.,
Case No. 2:17-cv-01282-SGC.
                                          3


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         8.         In each ad damnum paragraph following each count of Plaintiffs’

Complaint, Plaintiff seeks punitive damages “in an amount to be determined by a

struck jury.” (Complaint at ad damnum clauses to ¶¶ 9-11, 12-15, 16-19, 20-22.)

         9.         Plaintiff alleges that Aramark is liable for their claimed punitive

damages, but does not otherwise specify a monetary amount of damages being

sought in the Complaint, nor does she limit the claimed damages to an amount

below the minimum jurisdictional amount in controversy. (See generally,

Complaint.) Plaintiff makes a jury demand and requests that the jury make an

appropriate damages award. (Id.)

         10.        Defendant does not agree that all the damages claimed by Plaintiff are

warranted, or that all the damages claimed by Plaintiff were caused by Defendant’s

wrongful conduct. Nonetheless, Defendant agrees that if a jury concludes that

Defendant is liable to the Plaintiff for all her claimed damages, the damages award

will exceed $75,000.00.

               FEDERAL SUBJECT MATTER JURISDICTION EXISTS

         11.        Pursuant to the federal diversity statute, federal subject matter

jurisdiction exists over this civil action because “the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and is between . . . (3)

citizens of different States.” 28 U.S.C. § 1332(a)(1); see also Triggs v. John

Crump Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir. 1998). “[T]he party seeking to
                                                4


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remove the case to federal court bears the burden of establishing federal

jurisdiction.” Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 752 (11th Cir.

2010) (quoting Evans v. Walter Indus., Inc., 449 F.3d 1159, 1164 (11th Cir.

2006)).

         12.        As demonstrated above, for diversity purposes, Plaintiff is a citizen of

Alabama, where she maintains, and her decedent previously maintained,

permanent residence and domicile. Defendant is deemed to be a citizen of both

Delaware, where it is incorporated, and Pennsylvania, where its principal place of

business is located. Accordingly, complete diversity exists pursuant to 28 U.S.C. §

1332(a)(1) because the Plaintiff and the Defendant are “citizens of different

States.”

         13.        Although Plaintiff named defendant John Wilson Jordan, a resident of

Alabama, he has not been served yet and therefore this Court need not consider his

citizenship in deciding whether removal is proper.3 28 U.S.C. § 1441(b)(2) states

that “[a] civil action otherwise removable solely on the basis of the jurisdiction

under Section 1332(a) of this title may not be removed if any of the parties in

interest properly joined and served as defendants is a citizen of the State in which

such action is brought.” (emphasis added). Courts within the Eleventh Circuit have

held that “the plain language of the statute allows a non-forum defendant to

3
    The same is true for Penske Truck Leasing Co., L.P.
                                                5


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remove the case, despite the existence of a yet-unserved forum defendant.” Seong

Ho Hwang v. Gladden, No. 3:16-CV-502-SRW, 2016 WL 9334726, at *5 (M.D.

Ala. Dec. 21, 2016); see also Pathmanathan v. Jackson Nat. Life Ins. Co., No.

3:15-CV-347-WHA, 2015 WL 4605757, at *5 (M.D. Ala. July 30, 2015) (same);

North v. Precision Airmotive Corp., 600 F.Supp.2d 1263, 1268 (M.D. Fla. 2009)

(noting that the “unambiguous text” of the statute gives non-forum defendants the

ability to remove a case when a plaintiff has “joined, but not yet served, a forum

defendant”).

         14.        With regard to the amount in controversy, “‘[w]here, as here, the

plaintiff has not pled a specific amount of damages, the removing defendant must

prove by a preponderance of the evidence that the amount in controversy exceeds

the jurisdictional requirement.’” Pretka, 608 F.3d at 752 (quoting Williams v. Best

Buy Co., Inc., 269 F.3d 1316, 1319 (11th Cir. 2001)); see also 28 U.S.C.

§ 1446(c)(2) (removal statute as recently amended codifying “preponderance of the

evidence” with unstated amount in controversy).

         15.        In certain circumstances, removal of a complaint that “‘does not claim

a specific amount of damages . . . is proper if it is facially apparent from the

complaint that the amount in controversy exceeds the jurisdictional requirement.’”

Pretka, 608 F.3d at 754 (quoting Williams, 269 F.3d at 1319). It is facially

apparent from the Complaint in this case that the amount in controversy exceeds
                                                6


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the jurisdiction requirement. See Roe v. Michelin North America, Inc., 637 F.

Supp. 2d 995, 998-999 (M.D. Ala. 2009) (finding it “readily deducible” from the

facts alleged in complaint that amount-in-controversy requirement is met, and

employing “judicial experience and common sense” in concluding that a dispute in

which the allegedly wanton conduct of a large company resulting in a death

indisputably satisfies the jurisdictional amount), aff’d, 613 F.3d 1058 (11th Cir.

2010).

         16.        Where instead “‘the jurisdictional amount is not facially apparent

from the complaint, the court should look to the notice of removal and may require

evidence relevant to the amount in controversy at the time the case was removed.’”

Id. (quoting Williams, 269 F.3d at 1319); see also McCollough Enters., LLC v.

Marvin Windows, Inc., No. 09-0573-WS-B, 2009 WL 3615044, at *3 (S.D. Ala.

Oct. 29, 2009) (“‘A removing defendant can discharge this burden by presenting

sufficient evidence that a verdict rendered in favor of the plaintiff would exceed

$75,000.’”) (quoting Holman v. Montage Group, 79 F. Supp. 2d 1328, 1330 (S.D.

Ala. 1999)). Multiple $1,000,000.00-plus verdicts in wrongful death actions have

been rendered in Jefferson County, Alabama alone in the last three years.4


4
  See, e.g., Peggy Bender Rush and Dashton Bender Rush v. James Lenoir Kendrick, et al., Circuit Court of
Jefferson County, Alabama, Birmingham Division, Case No. CV-2011-902863 (March 1, 2013) ($40,250,000 total
damage award amongst all plaintiffs; $3,250,000 awarded for wrongful death); John Hurst and Barbara Hurst et al.
v. Mazda Motor of America, Inc., Circuit Court of Jefferson County, Alabama, Bessemer Division, Case No. CV-
2012-900498 (October 20, 2014) ($9,900,000 total damage award; $3,900,000 awarded for wrongful death).
                                                       7


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         17.        Although Plaintiff does not expressly label her claim as “wrongful

death” claims, she seeks punitive damages for each of the four counts contained in

her Complaint, and those claims seek punitive damages for the alleged negligence

and/or wantonness by Defendant that result in the death of the decedent.

(Complaint at ad damnum clauses to ¶¶ 9-11, 12-15, 16-19, 20-22.) Because

Alabama’s wrongful death statute, Ala. Code (1975) § 6-5-410, governs the

recovery of claims brought on behalf of a decedent, and limits the recovery to

punitive damages (as Plaintiff has alleged here), the claims brought on behalf of

the decedent Robert L. Moore, III, are claims for wrongful death and will be

defended as such. The court is not bound by Plaintiff’s characterization of her

claims. See Roe, 613 F.3d at 1061 (“[T]he district court is not bound by the

plaintiff’s representations regarding its claim.”); see also Main & Assocs., Inc. v.

Blue Cross & Blue Shield of Ala., 776 F. Supp. 2d 1270, 1277 (M.D. Ala. 2011)

(“Of course, the labels a plaintiff applies to the claims in the complaint are not

dispositive. See Smith v. Local 25, Sheet Metal Workers Int’l Ass’n, 500 F.2d 741,

748-49 n. 6 (5th Cir. 1974) (a reviewing court must look to the substance of the

complaint, not the labels used in it)”).

         18.        Where a complaint is removed under the first paragraph of 28 U.S.C.

§ 1446(b) (within thirty days of initial service), the controlling Pretka decision

holds that there is “no[] limit [on] the types of evidence that may be used to satisfy
                                              8


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the preponderance of the evidence standard.”                Pretka, 608 F.3d at 755, 768.

Instead, a removing defendant “may submit a wide range of evidence in order to

satisfy the jurisdictional requirements of removal,” including “their own affidavits,

declarations, or other documentation.”               Id.   A removing defendant may also

include “factual allegations establishing jurisdiction” in the notice of removal if it

“can support them (if challenged by the plaintiff or the court) with evidence

combined with reasonable deductions, reasonable inferences, or other reasonable

extrapolations.” Id. at 754.

         19.        Further, in determining the amount in controversy, each category of

damages claimed in a complaint, including “punitive damages[,] must be

considered . . . unless it is apparent to a legal certainty that such cannot be

recovered.” Holley Equip. Co. v. Credit Alliance Corp., 821 F.2d 1531, 1535 (11th

Cir. 1987); see also Renfroe v. Allstate Prop. & Cas. Ins. Co., 10-00359-CG-B,

2010 WL 4117038, at *4 S.D. Ala. Sept. 23, 2010) (Bivens, M.J.) (“The law is

clear that the amount in controversy includes not only compensatory damages, but

punitive damages as well.”).

         20.        Plaintiff effectively asserts a claim for the wrongful death of Robert L.

Moore, III, and seeks to recover punitive damages.                    As demonstrated by

Defendant’s factual allegations in this Notice of Removal, if not facially apparent


                                                 9


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from the Complaint, it is a certainty that the amount in controversy exceeds

$75,000.00.

         21.        Finally, because Defendant files this notice of removal within thirty

(30) days of its receiving a copy of the initial pleading, Defendant’s notice of

removal is timely pursuant to 28 U.S.C. § 1446(b). Accordingly, this case is

removable pursuant to 28 U.S.C. § 1441(a)-(b), as original jurisdiction exists and

none of the “parties in interest properly joined and served as defendants is a citizen

of the State in which such action is brought.” Id. at § 1441(b)(2).

          ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

         22.        In accordance with 28 U.S.C. § 1446(a), Defendant has attached as

Exhibit A true and correct copies of all process, orders, and other papers served on

Defendant as of the date of this removal.

         23.        Attached hereto as Exhibit C is a copy of the Notice of Filing this

Notice of Removal that is being filed with the clerk of the Circuit Court of

Jefferson County, Alabama.

         WHEREFORE, Defendant files this Notice of Removal in order to remove

the entire state court action under case number 01-CV-2017-903349.00 now

pending in the Circuit Court of Jefferson County, Alabama, to this Court for all

further proceedings.

         Respectfully submitted August 10, 2017.
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                                    DOCUMENT 7
      Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 48 of 54



                                      s/Kevin R. Garrison
                                      D. KEITH ANDRESS
                                      KEVIN R. GARRISON
                                      Attorneys for Defendant Aramark


OF COUNSEL:
BAKER, DONELSON, BEARMAN,
 CALDWELL & BERKOWITZ, P.C.
1400 Wells Fargo Tower
420 North 20th St.
Birmingham, AL 35203
(205)328-0480 Telephone
(205)322-8007 Facsimile
kandress@bakerdonelson.com
kgarrison@bakerdonelson.com


                         CERTIFICATE OF SERVICE

       I hereby certify that on this the 10th day of August, 2017, the foregoing has
been electronically filed utilizing the Court CM/ECF system, which will send
electronic notification to the following counsel of record:

G. Courtney French, Esq.
Michael D. Petway, Esq.
Fuston, Petway & French, LLP
The Luckie Building
600 Luckie Drive, Ste. 300
Birmingham, AL 35223
Phone: 205-977-9798
Fax: 205-977-9799
cfrench@fpflaw.com
mpetway@fpflaw.com


                                             s/Kevin R. Garrison
                                             OF COUNSEL

                                        11


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         Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 49 of 54


                                          AlaFile E-Notice




                                                                          01-CV-2017-903349.00


To: KEVIN RAY GARRISON
    krgarrison@bakerdonelson.com




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         Case 2:17-cv-01349-UJB-AKK Document 1-1 Filed 08/10/17 Page 50 of 54


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                                                                         01-CV-2017-903349.00


To: PENSKE TRUCK LEASING CO., LP, C/O (PRO SE)
    CORP. SERVICE CO. INC.,
    641 SO. LAWRENCE ST
    MONTGOMERY, AL, 36104-0000




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                                                                         01-CV-2017-903349.00


To: JORDAN JOHN WILSON (PRO SE)
    6550 COUNTY ROAD 490
    HANCEVILLE, AL, 35077-0000




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                                                                         01-CV-2017-903349.00


To: PETWAY MICHAEL DOUGLAS
    mpetway@fpflaw.com




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                                                                         01-CV-2017-903349.00


To: FRENCH GEORGE COURTNEY
    cfrench@fpflaw.com




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                                                                          01-CV-2017-903349.00


To: KEVIN RAY GARRISON
    krgarrison@bakerdonelson.com




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       CHANELL TURNER AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT L. M
                                01-CV-2017-903349.00

                    The following NOTICE OF REMOVAL was FILED on 8/10/2017 6:28:14 PM




     Notice Date:       8/10/2017 6:28:14 PM




                                                                           ANNE-MARIE ADAMS
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                                                             716 N. RICHARD ARRINGTON BLVD.
                                                                        BIRMINGHAM, AL, 35203

                                                                                  205-325-5355
                                                                  anne-marie.adams@alacourt.gov
